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                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


 WACKER DRIVE EXECUTIVE SUITES,
 LLC, on behalf of itself, individually, and on
 behalf of all others similarly situated,       Case No. 1:18-cv-5492

                        Plaintiff,                     Magistrate Judge Sunil R. Harjani
        v.

 JONES LANG LASALLE AMERICAS
 (ILLINOIS), LP,

                        Defendant.

             STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO
                FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii)

       Plaintiff Wacker Drive Executive Suites, LLC (“Plaintiff”), by and through its attorneys,

and Defendant Jones Lang LaSalle Americas (Illinois), LP (“Defendant”), by and through its

attorneys, hereby submit the following stipulation of dismissal, pursuant to Rule 41(a)(1)(A)(ii).

In support thereof, the parties state the following:

       1.      Plaintiff filed this lawsuit against Defendant on August 13, 2018. (Dkt. No. 1).

       2.      On June 3, 2022, Plaintiff and Defendant reached a settlement through a mediation

               conference before the Hon. M. David Weisman, U.S. Magistrate Judge. (Dkt. No.

               205).

       3.      Federal Rule of Civil Procedure 41(a)(1)(A)(ii) allows for a plaintiff to dismiss an

               action without court order by filing a stipulation of dismissal signed by all parties

               who have appeared.

       4.      The parties hereby stipulate that this action should be dismissed in its entirety, with

               prejudice.




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      5.      Both parties agree to bear their own fees and costs associated with this voluntary

              dismissal.




Dated: July 7, 2022                               Respectfully submitted,


WACKER DRIVE EXECUTIVE SUITES,                    JONES LANG LASALLE AMERICAS
LLC                                               (ILLINOIS), LP
/s/ Anna M. Ceragioli                             /s/ Kevin F. Gaffney
    One of Its Attorneys                              One of Its Attorneys

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                                CERTIFICATE OF SERVICE

       I certify that on July 7, 2022, a true and correct copy of the foregoing document was

electronically filed with the Clerk of the Court using the Court’s CM/ECF system, which will send

notification to the following attorneys of record for Defendant:

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                                                             /s/ Anna Ceragioli
